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       Attorney for Defendant HB Mat Properties, A California Limited Liability Company
  7
                              IN THE UNITED STATES DISTRICT COURT
  8
                                CENTRAL DISTRICT OF CALIFORNIA
  9

  10
        James Shayler,                                    Case No.: 2:20-cv-11107-FMO-GJS
  11
                 Plaintiff,                               Supplemental Memorandum Of
  12
        v.                                                Points And For Authorities By
  13                                                      Defendant On Motion For Summary
        HB Mat Properties, a California limited           Judgment
  14
        liability company; and Does 1-10,
  15                                                      Hearing Date: 12/09/2021
  16
                 Defendants.                              Time: 10:00 a.m.
                                                          Courtroom: 6D
  17
                                                 Introduction
  18
                Plaintiff James Shayler claims he is disabled and needs a cane and sometimes
  19
       are walker for mobility. The evidence shows Shayler has medical conditions but
  20
       further shows he does not use a cane or walker. Shayler has been caught on video in
  21
       2019 and twice in 2021 showing him walking and climbing steps without a cane and
  22
       stooping and bending, all of which he states that he cannot do. He admitted to
  23
       perjury in his deposition as shown in the undisputed facts. He falsely stated in
  24
       declarations (including his declaration in this case) that his left hand and arm are
  25
       disabled when is actual claim is the right hand and arm are disabled. But, the stills
  26
       and videos do not show limited use of the right hand or right arm. He suborned
  27
       perjury, having Dr. McCloy sign a declaration stating his left hand and arm have
  28                                                 Page 1
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  1    limited use. He falsely stated in this case he went into the Fusion Sushi with a friend
  2    when he testified at deposition that he took the food to go.
  3           It is apparent from the evidence presented Shayler attempts to use his medical
  4    conditions to extort money from businesses. Why else would he allegedly go to
  5    Fusion Sushi in in March 2019, February 2020, and September 2020 (FAC ¶ 14)
  6    before filing the lawsuit? He wants $4000 per visit and an additional $4000 for
  7    being deterred from returning, the latter of which is laughable considering he
  8    allegedly went 3 times. If it was inaccessible on the first visit, it logically should
  9    have deterred him from visiting then. As the late District Judge Edward Rafeedie
  10   said about litigation like this:
  11          “The scheme is simple: an unscrupulous law firm sends a disabled
  12          individual to as many businesses as possible, in order to have him
  13          aggressively seek out any and all violations of the ADA. Then, rather
  14          than simply informing a business of the violations, and attempting to
  15          remedy the matter through ‘conciliation and voluntary compliance,’ id.
  16          at 1281, a lawsuit is filed, requesting damage awards that would put
  17          many of the targeted establishments out of business. Faced with the
  18          specter of costly litigation and a potentially fatal judgment against them,
  19          most businesses quickly settle the matter.” Molski v. Mandarin Touch
  20          Restaurant, 347 F.Supp.2d 860, 863 (C.D. Cal. 2004).
  21          Mr. Molski, who filed 400 lawsuits in about a 7 year span, at least needed and
  22   used a wheelchair for mobility. Molski v. Mandarin Touch Rest., 359 F. Supp. 2d
  23   924, 926 (C.D. Cal. 2005). Here, Shayler has filed at least 200 cases when his
  24   alleged cane or walker use are very questionable.
  25          While Shayler is shown on video without a cane walking with a pronounced
  26   limp, that limp does not give Shayler license to sue for claimed violations having
  27   nothing to do with his disability. E.g. Oliver v. Ralphs Grocery Co., 654 F.3d 903,
  28                                              Page 2
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  1    907 (9th Cir. 2011).
  2            As demonstrated in the joint brief, questions of fact prevent summary
  3    judgment from being granted for Shayler. On the other hand, defendant has
  4    established it is entitled to summary judgment because Shayler does not have
  5    standing to sue for the alleged violation of the stated regulations, even if he uses a
  6    cane.
  7

  8    1.      Even if Shayler argues his impairments vary from day to day to explain
  9    the videos, that argument demonstrates questions of fact exist precluding
  10   summary judgment.
  11           “In assessing whether a genuine issue of material fact exists for trial, we do
  12   not weigh the evidence, nor make factual or credibility determinations. Id. ‘[W]here
  13   evidence is genuinely disputed on a particular issue—such as by conflicting
  14   testimony—that issue is inappropriate for resolution on summary judgment.’ Id.
  15   (internal quotation marks omitted).” Fuller v. Idaho Dep't of Corr., 865 F.3d 1154,
  16   1161 (9th Cir. 2017).
  17           On the one hand, photographic and video evidence show Shayler walking,
  18   climbing steps and stairs without a cane, using his right hand and bending and
  19   stooping. Undisputed Facts D66-D82. On the other hand, Shayler told his doctor he
  20   never bends, stoops or climb stairs (Undisputed Fact D64) and in declarations in this
  21   (docket number 49–2, p. 7, ¶ 4) and other cases (Undisputed Fact D72) he states
  22   under penalty of perjury he uses a cane daily to walk. However, defendant’s
  23   evidence, in particular the videos (Exhibits 46-49), show Shayler walking
  24   considerable distances without a cane or walker. The conflicting evidence, some of
  25   it from Shayler’s own mouth, is apparent and precludes summary judgment. The
  26   trier of fact does not have to believe Shayler when he says he uses a cane. The trier
  27   of fact does not have to believe Shayler when he claims that the alleged barriers
  28                                                Page 3
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  1    denied him full and equal access to Fusion Sushi.
  2          Further, Shayler’s lack of credibility from his perjured declarations and
  3    conflicting statements about his disability, cane use, left hand, and visit to the Fusion
  4    Sushi with a friend must also preclude summary judgment in his favor. As this
  5    Court said in Garrett v. City of L.A., 2014 U.S. Dist. LEXIS 186227, at *26 (C.D.
  6    Cal. Mar. 3, 2014), “The court is not free to weigh the evidence or make credibility
  7    determinations on a motion for summary judgment. [Citation.]”
  8          Fundamentally, Shayler has not presented any evidence, other than his own
  9    testimony, that he was ever at the Fusion Sushi. This Court and the jury are not
  10   required to believe Shayler when he says he went to Fusion Sushi. Of course,
  11   without ever being at the property, Shayler has no case.
  12         Finally, for injunctive relief, Shayler most prove his intent to return to Fusion
  13   Sushi. “Where intent is a primary issue, summary judgment is generally
  14   inappropriate.” SEC v. Seaboard Corp., 677 F.2d 1297, 1298 (9th Cir. 1982).
  15   Shayler may try to argue that his second and third visits show his intent to return.
  16   However the purported second and third visits give rise to a very different inference.
  17   Shayler does not actually want injunctive relief. If he truly wanted to be able to go
  18   to Fusion Sushi without the alleged barriers it is only logical for him to have brought
  19   this action immediately after the first visit. What has been said about multiple visits
  20   in Johnson v. Monterey & Rancho Plaza, 2020 U.S. Dist. LEXIS 184374, at *26-27
  21   (N.D. Cal. Oct. 5, 2020) shows the purpose of multiple visits:
  22         “The Court understands that Mr. Johnson is only requesting statutory
  23         damages. However, Mr. Johnson does not explain why he visited and
  24         returned to the Restaurant so many times over a three-month period. See
  25         Compl. ¶ 14. There is no indication in the record that Mr. Johnson
  26         received any type of assurance that the access barriers were removed.
  27         The Court can only assume the multiple visits were intended to
  28                                              Page 4
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  1           increase the amount of statutory damages Mr. Johnson could
  2           receive in this case. [Citation.] The sheer number of ADA cases that
  3           Mr. Johnson is litigating in this District also indicates that Mr.
  4           Johnson is simply interested in increasing the amount of damages
  5           received in such cases.” (Emphasis added.)
  6           A list of cases filed by Shayler, in this court’s file (Docket No 29–8),1 shows
  7    64 cases in which Shaylor visited properties multiple times, as many as five before
  8    filing a lawsuit against the business allegedly visted. Id. at Item numbers 1-63, 76.
  9    The intent is clear—Shayler wants to make money, not accessible businesses.
  10          With Shayler’s credibility and intent in issue, the motion for summary
  11   judgment never should have been filed. Counsel for Shayler knew the motion is not
  12   proper. Yet they filed the motion creating another credibility issue. In his October
  13   22, 2021 declaration, Shayler says under penalty of perjury:
  14          “5. I have very limited use of one arm and hand as a result of an injury
  15          on the job as a firefighter years ago. I cannot put much pressure on my
  16          left arm or hand. …” Docket No. 49-2, p. 7.
  17   But, in his deposition taken on October 13, 2021 (Docket No. 49-3, p.10):
  18          “THE WITNESS: I believe this doctor was the one that injured me on
  19          my right elbow and he waited a year to do the surgery. And by the time
  20          he did the surgery, my hand had atrophied and I had little use or no use
  21          of my right hand.” Docket No. 49-3, 24:24-25:3
  22          “It [a Shayler declaration] also says, ‘I cannot put much pressure on 1
  23          my left arm or hand and my left hand is atrophied.’
  24          “A. That's right.
  25          “Q. It is your right hand. So your left hand is not atrophied, correct?
  26   1
        The Court is requested to take judicial notice of Docket No. 29-8. The list included
  27   cases filed up to April 2, 2021.
  28                                               Page 5
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  1            “A. No, correct.
  2            “Q. The surgery that you had was on your right elbow, correct?
  3            “A. Correct.
  4            “Q. Have you ever had surgery on your left hand or elbow?
  5            “A. No.” Docket No. 49-3 58:25-59:11.
  6            On October 13, 2021, when the deposition was taken Shayler’s counsel knew,
  7    and should have known before, the surgery was on the right elbow that allegedly
  8    affected the right hand. Despite that knowledge, they file a declaration perpetuating
  9    the perjury that the left hand and arm are disabled. Once again, the motion for
  10   summary judgment never should have been filed by Shayler.
  11

  12   2.      On the other hand, this Court should grant summary judgment for
  13   defendant.
  14           Substantially all of the violations of regulations alleged by Shayler are
  15   regulations applicable to wheelchair users. Shayler claims he used a cane when he
  16   allegedly visited the Fusion Sushi 3 times. Undisputed Fact D98. A cane user
  17   cannot sue for the alleged violation of wheelchair regulations. So said the court to
  18   this very same plaintiff in Shayler v. Patel, 2020 U.S. Dist. LEXIS 136451, at 10-11
  19   * (C.D. Cal. July 31, 2020):
  20                  “‘[A] “barrier” will only amount to such interference if it affects
  21           the plaintiff’s full and equal enjoyment of the facility on account of his
  22           particular disability.’ Chapman, 631 F.3d at 947 (emphasis added). As
  23           ‘the [ADA Accessibility Guidelines (‘ADAAG’)] establishes the
  24           technical standards required for “full and equal enjoyment,” if a barrier
  25           violating these standards relates to a plaintiff's disability, it will impair
  26           the plaintiff's full and equal access, which constitutes “discrimination”
  27           under the ADA,’ thereby satisfying the first element of standing, injury-
  28                                                Page 6
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  1            in-fact. Id.” Shayler, at *9. In Shayler v. Patel, the court ruled he had
  2            no standing to sue for change of level regulations, would you apply to
  3            wheelchair users. Id. at * 10-11.
  4            Shayler has arguably alleged violations applicable to him, as noted in the Joint
  5    Brief, involving handrails on steps from the sidewalk and directional signage.
  6    However, he never encountered those barriers. Undisputed Facts D99-101. Those
  7    never encountered alleged barriers cannot provide standing to sue where, as here,
  8    there is no standing to sue on alleged barriers that were allegedly encountered.
  9    Chapman v. Pier 1 Imps. (U.S.), Inc., 631 F.3d 939, 944 (9th Cir. 2011) [“an ADA
  10   plaintiff who establishes standing as to encountered barriers may also sue for
  11   injunctive relief as to unencountered barriers related to his disability.” (Emphasis
  12   added.)] Further, the United States Supreme Court has made clear that “‘Only those
  13   plaintiffs who have been concretely harmed by a defendant’s statutory violation may
  14   sue that private defendant over that violation in federal court.’” TransUnion LLC v.
  15   Ramirez, 141 S. Ct. 2190, 2205 (2021). Shayler has not suffered any concrete harm
  16   and will not suffer any harm from the stairs or the alleged lack of signage.
  17

  18   3.      This Court should award defendant monetary sanctions against plaintiff’s
  19   counsel in the amount of $15,000.00 for the bad faith pursuit of the motion for
  20   summary judgment.
  21           In the Remedies section of the Joint Brief, plaintiff counsel removed the
  22   following:
  23                  C. Sanctions Pursuant [To] 28 U.S.C. § 1927
  24                  Under 28 U.S.C. § 1927, any attorney “who so multiplies the
  25           proceedings in any case unreasonably and vexatiously may be required by the
  26           court to satisfy personally the excess costs, expenses, and attorneys’ fees
  27           reasonably incurred because of such conduct.” Proceedings have been
  28                                                Page 7
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  1        multiplied greatly by the filing of the motion for summary judgment, as set
  2        forth in the declaration of James S. Link ¶¶ 19-21.
  3               Attorney fees may be awarded as monetary sanctions under section
  4        1927 for the filing of a frivolous motion. Shields v. Shetler, 120 F.R.D. 123,
  5        127 (D. Colo. 1988). “Sanctions pursuant to section 1927 must be supported
  6        by a ﬁnding of subjective bad faith.” Blixseth v. Yellowstone Mountain Club,
  7        LLC, 796 F.3d 1004, 1007 (9th Cir. 2015). “Bad faith is present when an
  8        attorney knowingly or recklessly raises a frivolous argument, [citation], or
  9        argues a meritorious claim for the purpose of harassing an opponent,
  10       [citations].” (Id.)
  11              The bad faith of counsel is clear. Plaintiff counsel knew a motion for
  12       summary judgment had no merit. Long before plaintiff’s counsel sent the
  13       draft prior to the joint motion to this counsel, plaintiff’s counsel had the videos
  14       showing plaintiff walking without a cane, walking on stairs, using his right
  15       hand, stooping, and bending. At the meet and confer for this motion,
  16       defendant’s counsel specifically discussed the fact that the evidence presented
  17       in the videos raised questions of fact precluding summary judgment.
  18              On October 13, 2021, counsel took the deposition of plaintiff. Counsel
  19       showed him stills from the videos as well as the videos showing him walking
  20       without a cane, walking on stairs, using his right hand, stooping and bending.
  21       Despite the obvious challenge to his credibility from the videos, plaintiff
  22       counsel have proceeded with the filing of this motion. They have done so
  23       despite the fact they were aware plaintiff perjured himself in declarations,
  24       which also discredits his testimony.
  25              Defendant should be awarded monetary sanctions against plaintiff’s
  26       attorneys in the amount of $15,000. See Link Decl. ¶¶ 19-21.
  27

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  1                                            Conclusion
  2          “‘Article III grants federal courts the power to redress harms that defendants
  3    cause plaintiffs, not a freewheeling power to hold defendants accountable for legal
  4    infractions.’ [Citation.]” TransUnion LLC v. Ramirez, 141 S. Ct. 2190, 2205
  5    (2021). Like many serial litigants, Shayler moves about Los Angeles County
  6    looking for businesses to sue. He has not suffered concrete harm at Fusion Sushi and
  7    we dare say at any of the businesses he has sued.
  8          Shayler should be denied summary judgment. On the other hand, summary
  9    judgment should be granted for defendant on the ADA claims because this Court
  10   does not have jurisdiction over them and supplemental jurisdiction is properly
  11   denied. Defendant should be awarded $15,000 against Shayler’s attorneys.
  12
       Date: November 24, 2021                          ________________________________
  13                                                    James S. Link
  14                                                    Attorneys for Defendant HB Mat
                                                        Properties
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